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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 IKEIE SMITH #369273,
                                         NO. 1:22-cv-925
       Plaintiff,
 v                                       HON. PAUL L. MALONEY

 RAY RUBLEY, LLOYD BLACKMAN,             MAG. JUDGE PHILLIP J. GREEN
 LIZA MOYER, GARY STUMP, and
 BRANDON WELCH,

       Defendants.

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 ____________________________________________________________________________/

  INDEX OF EXHBIITS TO MDOC DEFENDANTS’ MOTION IN LIMINE TO
    PRECLUDE EVIDENCE BY THE PLAINTIFF REGARDING ISSUES
          ALREADY DECIDED IN MISCONDUCT HEARINGS

      Exhibit        Description
         A           Smith Misconduct summary
         B           January 2, 2020 Hearing Report
         C           March 26 Hearing Report
